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                                                                                    DISTRICT
                                                                                         ARKANSAS
                  IN THE UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF ARKANSAS                                APR 15 2021



UNITED STATES OF AMERICA
                            CENTRAL DIVISION
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v.                             CASE NO. 4:20CV-307-KGB

$332,057.00 IN U.S. CURRENCY                                               DEFENDANT

SUNG KIM                                                                      CLAIMANT


       MOTION TO SUPPRESS EVIDENCE AND BRIEF IN SUPPORT

      COMES NOW the Claimant, Sung Kim, by and through his attorney, Toney

Brasuell of the Brasuell Law Firm, pursuant to Rule G(8)(a) of the Supplemental

Rules for Admiralty or Maritime Claims and Asset Forfeiture Actions, Rule 7.2 of

the Eastern District of Arkansas Local Rules, and all other applicable federal

statutes and legal precedent, and for his Motion states as follows:

      The Arkansas State Police conducted a traffic stop of the Claimant, Sung Kim.

The stop and search violated Kim's constitutional right to be free from unreasonable

searches and seizures under the Fourth Amendment. There was no probable cause

for the traffic stop of Kim's car, insufficient cause for the seizure and questioning of

Kim or his passenger, insufficient cause for the continued detention of Kim, his

passenger and the car, and the resulting search was a direct product of this illegal

detention. Further, the search was made without freely given voluntary consent and

in the absence of probable cause to justify it under the Fourth Amendment. All

evidence subsequently seized was thus fruit of the poisonous tree. Mr. Kim moves to



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suppress all evidence alleged recovered as a result of the unlawful seizure and search

of Mr. Kim and his vehicle.

I.    Factual Background.

      On September 10, 2019, at approximately 7:00 a.m., Arkansas State Police

Trooper Andrew May conducted a traffic stop on a silver 2018 Nissan Rogue. The

driver of the Rogue was Sung Kim, and the only passenger in the vehicle was Kim's

spouse, Hyun Jung Kim. The traffic stop was captured and recorded by Trooper

May's patrol car camera, hereinafter referred to as "dashcam". See Exhibit A

Trooper May made contact with the occupants of the vehicle through the passenger

side window. Dashcam footage showed that Trooper May stated to the driver, Sung

Kim, ''When you went past me you crossed the fog line." In the incident report,

Trooper May stated, "[a]s I was travelling westbound on Interstate 40 I observed

the Silver Nissan Rogue drive onto the inside fog line numerous times violating

Arkansas statute 27-51-302." See Exhibit B.

      As we will discuss below, the following times will be important for the court's

factual analysis:

      a. Time the traffic stop was initiated: Approximately 7:00 a.m.

      b. Time from initial contact with Sung Kim until Trooper May concludes
         that criminal activity is ongoing: Thirty (30) seconds.
      c. Time from initial contact until Trooper May requires Sung Kim to exit
         Nissan Rogue and respond to interrogation from patrol car: Thirty-five
         (35) seconds.
      d. Time from stop until Trooper May runs background information for Sung
         Kim: Approximately three (3) minutes.
      e. Time from stop until Trooper May informs Sung Kim he does not intend to
         issue a ticket: Approximately three (3) minutes and forty (40) seconds.

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      f. Time from stop until Trooper May runs background information on Hyun
         Kim: Approximately five (5) minutes and thirty (30) seconds.
      g. Time from stop until Sung Kim declines consent to search the vehicle:
         Approximately seven (7) minutes.
      h. Time from stop until Trooper May issues warning ticket: Twenty-five (25)
         minutes, which was more than twenty-one (21) minutes after informing
         Sung Kim he did not intend to issue a ticket. See Exhibit C.
      i. Time from stop until drug dog arrives: Approximately thirty (30) minutes.

      Sung Kim provided Trooper May with his driver's license and rental

agreement, which showed the vehicle had been rented on September 9, 2019, to be

driven to Las Vegas. From that point forward, Trooper May never again mentioned

the alleged fog line issue nor did he write a ticket. In fact, the dashcam reveals that

approximately three minutes and forty seconds into the stop, Trooper May informed

Kim that he did not intend to write him a ticket. According to the dashcam,

approximately 35 seconds after making contact with Sung Kim, Trooper May had

Sung Kim exit the vehicle and accompany him back to his patrol car, where Trooper

May questioned Sung Kim about matters completely unrelated to the traffic stop

while he ran the information on the vehicle and performed a background check on

Sung Kim. The dashcam also reveals that Trooper May informed Trooper Blackerby

that after 30 seconds of speaking with Sung Kim, the traffic stop transformed into a

criminal investigation. At that point, Sung Kim and Hyun Kim were both in custody

and seized, and all further interrogation was subject to Fifth and Sixth Amendment

protections.

      According to the dashcam, Sung Kim advised he and his wife had rented the

Rogue to drive to Las Vegas. Kim explained that the trip was a honeymoon surprise


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for his wife and while he would like to stay for a week, they would probably only

stay a couple of days. Sung Kim acknowledged he and Hyun Kim had been married

more than 20 years, however, he explained to Trooper May that they had never

been on a vacation. Sung Kim also explained that the couple intended to stay at the

Aria Hotel.

        According to the Government's Complaint, Trooper May claimed Sung Kim

made his responses nervously; however, dashcam footage of the interaction between

Sung Kim and Trooper May contradicts the Government's allegation. The audio

from the traffic stop depicted Sung Kim engaging with Trooper May casually and

laughing. According to the dashcam, when Trooper May inquired about the one-

way rental, Sung Kim stated he and his wife planned to fly home from Las Vegas.

Kim explained that he and his wife wanted to sightsee, and he had brought his

camera along to photograph sights along the drive. Trooper May ran a background

check on Sung Kim that revealed a 2014 charge for possession of marijuana but no

conviction.

        Trooper May then returned to the Nissan Rogue and asked Hyun Kim many

of the same questions concerning her and her husband's travel plans. Hyun Kim

can be heard informing Trooper May that she and her husband were going to be in

Las Vegas for a week and that they might fly home or might drive the rental vehicle

home.




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        According to the dashcam, approximately two minutes and fifteen seconds

after informing Sung Kim that he did not intend to write him a ticket1, and

approximately six minutes into the stop, Trooper May asked Sung Kim for consent

to search the Rogue. Sung Kim declined consent to search his vehicle. Trooper May

immediately advised Sung Kim that he was going to call for a drug dog to conduct a

sniff of the vehicle. According to the dashcam footage, approximately thirty minutes

passed between the initial seizure of the vehicle and the arrival of the drug dog.

        Approximately twenty-seven minutes passed between Trooper May informing

Mr. Kim he did not intend to write a ticket and the arrival of the drug dog, and

approximately twenty-five minutes passed between Mr. Kim's refusal of consent to

search his vehicle and the arrival of the drug dog.

        Prior to Sung Kim denying consent to conduct a search of the vehicle, Trooper

May ran a background check on Hyun Kim, which revealed no criminal history, and

then continued interrogating Sung Kim. Sung Kim continued to respond to Trooper

May's interrogation. Trooper May questioned Sung Kim about his prior arrest for

marijuana possession. Sung Kim acknowledged the arrest but contended the offense

involved a small quantity of marijuana and that the marijuana belonged to someone

else who had been in the vehicle.

        During the continued seizure, Trooper May told Hyun Kim ''I'm pretty

suspicious of your husband's nervousness and just kind of what's going on, I asked


1 While the warning ticket states that it was issues at 7:25 a.m., based upon Trooper May's statements, it should
have been issued at approximately 7:04 a.m., further supporting Claimant's theory that the stop was pretextual in
nature and impermissibly extended beyond the time reasonably necessary to perform the necessary tasks related
to an investigatory stop.

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for his consent to search the car and he told me I can't search the car, so my partner

is bringing a dog over here and we're gonna run the dog around the car." Trooper

May then apologized to Hyun Kim for the delay and requested that she be patient

with him.

      At 32 minutes and 51 seconds into the dashcam footage, Trooper Mark

Blackerby arrived with his canine partner, Raptor, and walked Raptor around the

Rogue. Paragraph 42 of the Government's Complaint alleged that Raptor alerted to

an odor of narcotics on the Rogue. According to the Government's Complaint, a

subsequent search of the Rogue revealed the Defendant Currency in two duffel bags

and a backpack in the rear of the Rogue, vacuum sealed, and three cellular devices,

all of which was confiscated by the Arkansas State Police.

      However, the search of the Rogue did not reveal any drugs or drug

paraphernalia. The Nissan Rogue was towed and Sung Kim and Hyun Kim were

taken to the police station.

      At some point, State Police sought investigative assistance from the Drug

Enforcement Administration ("DEA"). DEA Task Force Officer (''TFO') Stephen

Briggs responded and interrogated Sung and Hyun Kim. At some point, Sung Kim

invoked his right to counsel. The Defendant Currency was taken to a bank and

counted. The bank's count showed that the money was $332,057.00 in U.S.

currency. The bank recorded the denominations of the money, and those records

showed that the Defendant Currency included 47 $1.00 bills, 954 $5.00 bills, 1,369

$10.00 bills, 13,730 $20.00 bills, 169 $50.00 bills, and 305 $100.00 bills. In the days


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following the seizure, the DEA adopted the case and conducted an administrative

forfeiture proceeding regarding the Defendant Currency.

      At the time Trooper May required Sung Kim to exit the vehicle and sit in the

patrol car, he only knew that Sung Kim and Hyun Kim were traveling in a rental

vehicle, and that they had provided the requested documentation. At the time

Trooper May informed Sung Kim he did not intend to issue a traffic ticket, he had

learned that Sung Kim and Hyun Kim were traveling to Las Vegas in a rental

vehicle as a late honeymoon, having never taken a vacation, that they intended to

sightsee on the way to Las Vegas before flying back home, and that Sung Kim had

been charged with, but not convicted of, marijuana possession in 2014. At the time

Trooper May requested, and was denied, consent to search the Nissan Rogue, he

still only knew the above stated information. Between the time that Trooper May

informed Sung Kim that he intended to let him go without issuing a ticket and the

time at which Sung Kim declined consent to search his vehicle, there were no

intervening circumstances that would give rise to reasonable suspicion.

      Trooper May told Sung Kim and Hyun Kim that he witnessed their Nissan

Rogue cross the fog line; however, it is clear from the dashcam footage that the

Nissan Rogue did not cross the fog line. Trooper May did not have probable cause

to conduct a traffic stop. Further, after conducting an illegal traffic stop, Trooper

May did not have reasonable suspicion to continue the detention of Sung Kim and

Hyun Kim and seizure of the Nissan Rogue. Trooper May did not see any furtive

movements or weapons, did not smell alcohol or marijuana, saw no drugs, and saw


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nothing else that would lead him to suspect that any criminal activity might be

ongomg.

II.     Applicable State Statutes and Rules.

      a. Ark. Code. Ann.§ 27-51-302. Roadways Divided Into Lanes. See
        Exhibit D.

        Whenever any roadway has been divided into two (2) or more clearly marked
        lanes for traffic, the following rules in addition to all others consistent with
        this subchapter shall apply:

        (1) A vehicle shall be driven as nearly as practical entirely within a single

        lane and shall not be moved from the lane until the driver has first

        ascertained that movement can be made with safety; and

        (2) Official signs may be erected directing slower-moving traffic to use a

        designated lane or allocating specified lanes to traffic moving in the same

        direction, and drivers of vehicles shall obey the directions of every such sign.

      b. Ark. R. Crim. P. 3.1. Stopping and Detention of Person: Time Limit.

        See Exhibit E.

        A law enforcement officer lawfully present in any place may, in the

        performance of his duties, stop and detain any person who he reasonably

        suspects is committing, has committed, or is about to commit (1) a felony, or

        (2) a misdemeanor involving danger of forcible injury to persons or of

        appropriation of or damage to property, if such action is reasonably necessary

        either to obtain or verify the identification of the person or to determine the

        lawfulness of his conduct. An officer acting under this rule may require the

        person to remain in or near such place in the officer's presence for a period of

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       not more than fifteen (15) minutes or for such time as is reasonable under the

       circumstances. At the end of such period the person detained shall be

       released without further restraint, or arrested and charged with an offense.

III.   Legal Arguments.

   a. Trooper May did not have probable cause to conduct a traffic stop of the
      Nissan Rogue.

       The Fourth Amendment protects against "unreasonable searches and

seizures." U.S. Const. amend. IV. A traffic stop constitutes a seizure under the

Fourth Amendment. See United States v. Peralez, 526 F.3d 1115, 1119 (8th Cir.

2008) (citing Delaware v. Prouse, 440 U.S. 648,653 (1979)). A traffic stop is

reasonable where the police have probable cause to believe that a traffic violation

occurred, Whren v. United States, 517 U.S. 806, 810 (1996), and any traffic violation

provides probable cause for a traffic stop. United States v. Broomfield, 40 F.3d 910,

915 (8th Cir. 1994). Here, Sung Kim did not commit a traffic violation/cross the fog

line, as is clear from the dashcam; therefore, the resulting traffic stop was violative

of Kim's Fourth Amendment rights.

       However, should the district court find that Sung Kim touched the fog line,

Trooper May still did not have probable cause to conduct a traffic stop, because that

alleged act does not violate A.C.A. § 27-51-302.

       In Trooper May's incident report, Trooper May alleges Sung Kim drove onto

the fog line numerous times in violation of A.C.A. § 27-51-302. While not conceding

that Kim drove onto the fog line, the relevant statute states in pertinent part that a




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vehicle shall be driven "as nearly as practical" within a single lane; thus, driving

onto or touching the fog line would not be in violation with the statute.

       Courts in the Sixth, Ninth, and Tenth Circuits interpreting similar, if not

identical, statutory language to that in A.C.A. § 27-51-302 have held that "touching

the line is not enough to constitute [a motor vehicle violation]." U.S. v. Colin, 314 F.3d

439, 444 (9 th Cir. 2002).

       In U.S. v. Colin, Sergeant Carmicheal observed a vehicle on 1-15 drift onto the

white fog line and remain there for ten (10) seconds. The car then drifted to the left

side of the lane, made a lane change with the proper signal, and drifted to the left

double yellow line and remained there for ten seconds.            Sergeant Carmicheal

conducted a traffic stop. The Court stated that the defendant's car "touched" the fog

line and the double yellow line but never crossed the fog line or the double yellow line;

therefore did not violate California traffic code. It should be noted that California

Code Section 21658(a) is similar to A.C.A. § 27-51-302(1).

       The Court also noted that there have been similar rulings that touching the

center line is not enough to consider it ''lane straddling". See, e.g., United States v.

Gregory, 79 F.3d 973, 978 (10th Cir.1996) (holding that an isolated incident of a

vehicle crossing into the emergency lane of a roadway does not violate state statute's

requirement that vehicles remain entirely in a single lane "as nearly as

practical"); United States v. Guevara-Martinez, 2000 WL 33593291, at *2 (D.Neb.

May 26, 2000) (interpreting a similar Nebraska statute and concluding that touching,

but not crossing, the broken line between two southbound lanes twice in a half mile


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did not violate the statute's "near as practicable" requirement), aff'd, 262 F.3d 751

(8th Cir.2001).

       Many courts have similarly found no traffic violation, and therefore no

probable cause, under similar circumstances. See, e.g., U.S. v. Gross, 550 F.3d 578,

583 (6th Cir. 2008) (finding no violation of Tenn. Code Ann.§ 55-8-123, which requires

that "[a] vehicle shall be driven as nearly as practicable within a single lane," but

does not require vehicles to strictly maintain the lane at all times, where officer

observed vehicle straddle two lanes for "a few seconds while changing from one lane

to the other"); U.S. v. Warfield, 727 Fed. Appx. 182, 186 (6 th Cir. 2018)(unpublished)

(concluding officer lacked probable cause for traffic stop where driver's tires touched

lane lines); U.S. v. IJelgado-Hernandez, 283 Fed. Appx. 493, 499 (9 th Cir.

2008)(unpublished) (holding driver crossing over fog line for a brief instance "neither

posed a safety threat nor failed to drive as nearly as practicable within a single

lane.").

       Here, Trooper May alleges in his incident report that he observed the Nissan

Rogue drive onto the inside fog line numerous times; however, the dashcam does not

show any such traffic violation which would give rise to probable cause for Trooper

May to conduct the traffic stop. However, should the district court find that the Rogue

did drive onto the fog line, it should agree with the above circuits' legal interpretation

that the touching or brief crossing of the fog lane is within the statutory "as nearly as

practical entirely within a single lane" requirement.

       b.       Trooper May did not have reasonable suspicion to prolong the
                detention after completion of the traffic stop.

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         Even assuming, arguendo, that the initial seizure was lawful, Trooper May

did not have reasonable suspicion to prolong the seizure after the purpose of the

stop had been accomplished. Here, according to Trooper May, the purpose for the

stop was to investigate the crossing of the fog line. Authority for the seizure ends

when the tasks tied to the traffic infraction are - or reasonably should have been -

completed. Rodriguez v. U.S., 575 U.S. 348,354 (2015). Exceeding the time needed

to handle the matter for which the stop was made violates the Constitution's shield

against unreasonable seizures. Rodriguez v. U.S. at 350. Although an officer may

conduct certain unrelated checks during a traffic stop, he may not do so in a way

that prolongs the stop, absent the reasonable suspicion ordinarily demanded to

justify detaining an individual. Id at 354. The Fourth Amendment does not tolerate

a dog sniff conducted after completion of a traffic stop. Id at 350. Police cannot base

their decision to prolong a traffic stop on the detainee's refusal to consent to a

search. U.S. v. Boyce, 351 F.3d 1102, 1110 (11 th Cir. 2003).

         The Eighth Circuit has acknowledged that certain actions incident to a lawful

traffic stop are permitted, such as requesting the driver's license and registration,

requesting that the driver step out of the vehicle, requesting that the driver wait in

the patrol car, conducting computer inquiries to determine the validity of the license

and registration as well as the driver's criminal history, and making inquiries into

the motorist's destination and purpose. U.S. v. Jones, 269 F.3d 919,924 (8 th Cir.

2001).




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      However, in United States v. Jones, the Eighth Circuit found that once this

initial investigation has been completed, the legitimate purposes of the traffic stop

are completed, and it is an unreasonable extension of the scope of the investigation

to further detain the driver or his vehicle, absent the occurrence of something

during the stop that generated the necessary reasonable suspicion to justify a

further detention. Id. at 925. This suspicion must be based upon "particularized,

objective facts which, taken together with rational inferences from those facts,

reasonably warrant suspicion that a crime [is] being committed." Id. at 927.

      Although it is typically reasonable to detain a driver while awaiting the

results of a criminal history check, the Eleventh Circuit emphasized in Boyce that

the history check must be part of the original traffic stop investigation, and found

that where a license check and warning ticket has already been issued, continued

detention to perform further checks is an unlawful prolonging of the traffic stop.

Boyce at 1107.

      In Jones, the Eighth Circuit found that the government's argument for

reasonable suspicion was based largely on seemingly innocent circumstances. Id.

Jones' slowing down while being passed, his camper wheels crossing traffic lines,

his inconsistent answers regarding his prior arrest record, and his nervousness

upon being detained and questioned inside the trooper's patrol car were not

accepted to be factors, even viewed in combination, which could support the

determination of reasonable suspicion. Id. at 929. The Court in Jones further

emphasized that it is not abnormal or unusual for a motorist to exhibit signs of


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nervousness when confronted by a law enforcement officer. Id. In another Eighth

Circuit case, the Court found that the totality of the circumstances did not give rise

to reasonable suspicion to prolong a traffic stop where there were air fresheners

placed in several vents, the driver seemed extremely nervous and provided

inconsistent/limited details about his trip, and the driver's name was "flagged" by

immigration services. U.S. v. Guerrero, 374 F.3d 584, 590 (8 th Cir. 2004).

      Sister circuits have similarly held that in the absence of reasonable suspicion

of criminal activity, an individual may not be detained after completion of a lawful

traffic stop. Boyce at 1110. In Boyce, the Eleventh Circuit found driving a rental car

on a known drug corridor and planning to return the car two days late did not give

rise to reasonable suspicion. Although the officer in Boyce asserted the detainee's

nervousness and unusual travel plans as factors contributing to reasonable

suspicion, the Eleventh Circuit declined to consider these factors as contributory.

Review of the incident's dashcam footage did not indicate nervousness on behalf of

the detainee, and the Court determined the officer's subjective opinion about the

detainee's travel destination and purpose did not give rise to reasonable suspicion.

Id. Further, the court found that the only significant event between the time the

officer wrote a traffic ticket and the time the officer called for the drug dog was the

driver asserting his constitutional right not to let the officer search his car. Id. The

Court stated that this circumstance suggested the true reason the officer in Boyce

chose to extend the detention of the driver was because the driver would not




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consent, noting that the immediacy of the officer's response in calling the drug dog

after the driver's refusal further supported such a conclusion. Id.

      The Arkansas Rule of Criminal Procedure 3.1 provides even more protection

for individuals, requiring that a law enforcement officer detain a person he

reasonably suspects is committing a felony for no longer than fifteen minutes or "for

such time as is reasonable under the circumstances." Ark. R. Crim. P. 3.1. The

Arkansas Supreme Court requires that reasonable suspicion for continued

detention be, under the totality of the circumstances, supported by specific,

particularized, and articulable reasons indicating that the person may be involved

in criminal activity. Hoey v. State, 519 S.W.3d 745, 755 (Ark. App. 2017). An officer

making a traffic stop must develop reasonable suspicion to detain before the

legitimate purpose of the traffic stop has ended. Sims v. State, 157 S.W.3d 530 (Ark.

2004). The Arkansas Supreme Court has found that a person's mere nervousness

and sweating does not give rise to an objective and particularized basis for

reasonable suspicion. Id. at 535-36.

      The Arkansas Appellate Court has held there was no reasonable suspicion

present to justify extending a traffic stop where a driver was driving a rental car

rented by an absent third party, the driver had a one-way rental agreement despite

his statement that he planned to return to California in ten days; the rental car

smelled of air freshener; the driver was nervous; the officer observed energy drink

cans on the floorboard, and; the officer did not believe the driver was truthful about




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his employment. Lilley v. State, 199 S.W.3d 692, 698 (Ark. App. 2004), affd, 208

S.W.3d 785 (Ark. 2005).

      Here, similar to Jones and Boyce, the traffic stop was unreasonably prolonged

beyond the time necessary to conduct the original traffic investigation, and the facts

do not give rise to an objective determination of reasonable suspicion. The traffic

stop ended when Trooper May informed Mr. Kim he did not intend to issue a ticket,

at which point his purpose for pulling Mr. Kim over was complete. By this time,

Trooper May had already performed a background check and completed the

necessary tasks associated with the traffic stop. Extending the detention further to

conduct additional checks and await arrival of a drug dog was an impermissible

prolonging of the stop. Despite the absence of factors which would objectively give

rise to reasonable suspicion, Trooper May immediately called for a drug dog

following Mr. Kim's denial of consent to search the vehicle. This immediacy, like in

Boyce, suggests that Trooper May unlawfully based his decision to continue the

detention of Mr. Kim on Mr. Kim's assertion of his constitutional right. The only

significant event between the time Trooper May stated his non-intent to issue a

ticket and the time he called for a drug dog was Mr. Kim's assertion of his

constitutional right not to allow Trooper May to search his car; this would suggest

that Trooper May based his decision to further detain Mr. Kim on Mr. Kim's refusal

to consent.

      The only factors Trooper May suggested on dashcam for justification to

extend the traffic stop prior to his request to search Mr. Kim's vehicle were Mr.


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Kim's supposed nervousness while interacting with the officer, and 'just kind of

what's going on." However, the dashcam does not portray any nervousness by Mr.

Kim, and even if it did, it is not unusual to be nervous while being detained by law

enforcement. Additionally, an officer being suspicious of 'just kind of what's going

on" is not a particularized fact which would lead to the justification for the intrusion

upon Mr. Kim's Fourth Amendment right to be free from unreasonable searches and

seizures.

       Trooper May's later statement to Trooper Blackerby that he suspected

criminal activity 30 seconds into the stop because the couple was driving to Las

Vegas was bare, conjectural suspicion. From that point forward, Trooper May's

primary purpose was to gather information which would support his inchoate hunch

and justify the continued detention; consequently, anything Mr. Kim told Trooper

May was going to be interpreted to support that pretextual conclusion.

      Trooper May detained Mr. Kim for more than thirty minutes, despite the

legitimate purpose to the traffic stop concluding after six minutes. This detention

length must be considered unreasonable under the circumstances. Thirty minutes is

double the time permissible under Ark. R. Crim. P. 3.1. The prolonged detention

was not supported by any specific, particularized, or articulable facts which would

give rise to reasonable suspicion, and the purpose for the traffic stop had concluded

once Trooper May received the results of Sung Kim and Hyun Kim's background

checks and decided not to issue a ticket.




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      c.     Trooper May subjected Sung Kim to an in-custodial interrogation
             which required reasonable suspicion and the issuance of Miranda
             warnmgs.

      The United States Supreme Court has acknowledged that a motorist who has

been detained pursuant to a traffic stop is entitled to the "full panoply of protections

prescribed by Miranda' if the motorist is subjected to treatment that renders him

"in custody" for practical purposes. Berkemer v. McCarty, 468 U.S. 420,440 (1984).

The relevant inquiry is how a reasonable man in the suspect's position would have

understood his situation. Id. at 442. Police can be said to have seized an individual

''if in view of all the circumstances surrounding the incident, a reasonable person

would have believed that he was not free to leave." Lilley at 697. The Arkansas

Supreme Court has recognized that interrogation in a police car is considered a

significant factor in finding an individual under custodial interrogation. Shelton v.

State, 699 S.W.2d 728, 732 (Ark. 1985).

      Where an officer instructed a driver to exit his vehicle and sit in the patrol

car while he issued a ticket, asked leading questions which commanded a response,

and did not expressly or implicitly tell the driver he was free to go after completion

of the traffic stop, it was determined that a reasonable person in the driver's

situation would not have felt free to leave, and thus, his Fourth Amendment rights

were implicated. Lilley at 697.

      Trooper May initiated the traffic stop after allegedly seeing Mr. Kim driving

over the fog line, but almost immediately began questioning Mr. Kim on unrelated

matters. Trooper May had already decided not to issue Mr. Kim a ticket when he


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questioned Mr. Kim in-depth about his travel plans, requested consent to search the

vehicle, and requested the assistance of a drug-detection dog. Mr. Kim could not

have believed himself free to go while being detained and interrogated in Trooper

May's patrol car, and this circumstance in combination with Trooper May's

admission that he was looking for evidence of criminal activity 30 seconds into the

traffic stop, supports the finding that Mr. Kim was under in-custodial interrogation

and thus, entitled to the protections afforded by Miranda. Because the purpose for

the stop was completed, Trooper May continuing to detain and question Mr. Kim

while awaiting the arrival of a drug-detection dug was unlawful.

IV. Conclusion

      Because the evidence, both physical and verbal, including Mr. Kim's custodial

interrogation, were seized or obtained unlawfully, all items of evidence should be

suppressed as fruit of the poisonous tree. Wong Sun v. United States, 371 U.S. 4 71

(1963).

      WHEREFORE, Defendant prays this court grant his motion, and for all other

relief the court deems necessary and proper.




                                                                               19 of 19
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                                      Respectfully submitted,




                                        oney Brasuell
                                      ABA No. 2005579
                                      Attorney for Kim
                                      Brasuell Law Firm
                                      3700 Old Cantrell Road, Suite 102
                                      Little Rock, AR 72202
                                      toney@brasuelllawfirm.com


                         CERTIFICATE OF SERVICE

      I hereby certify that the foregoing document was delivered by hand delivery
on April 15, 2021 to the following:


      Cameron McCree
      Asst. U.S. Attorney
      425 W Capitol Ave. Suite 500
      Little Rock, AR 72201
Case 4:20-cv-00307-KGB Document 28 Filed 04/15/21 Page 21 of 29



                         EXHIBIT LIST
A. DASHCAM VIDEO
      a. Claimant has included the VLC media player to view the dashcam
         video. To access the dashcam video:
              i. Right-click on "Sung Kim-ACIC Delete.mp4"
             ii. Go to "Open With"
            iii. Click on ''VLC media player"
B. INCIDENT REPORT
C. WARNING TICKET
D. A.C.A. § 27-51-302
E. ARK. R. CRIM. P. 3.1
Case 4:20-cv-00307-KGB Document 28 Filed 04/15/21 Page 22 of 29
                         Case 4:20-cv-00307-KGB Document 28 Filed 04/15/21 Page 23 of 29

                                      Incident Report Form
                                                                                                          Incident Report Number
                                        Arkansas Uniform
                                                                                                     5.1.0 A-09/19-0184
    Incident Type                                      Incident Date                                      Incident Time

s Money s·1ezure
U                                                      9/10/2019                                          07:00:00
M Call Location                                        Call Date                                          Call Time

M 1-40 WB 177mm                                        9/10/2019                                          07:00:00
A Incident County                                      Incident Address

R LONOKE                                               1-40 WB 177mm
y Incident City
    LONOKE
                                                                                             !AR
                                                                                              Incident State           Incident Zip Code

                                                                                                                       72086
    Number of Subjects                                                          Number of Vehicles

    2
    The Subject is
s                                                                         Suspect
u---------------.----------=--------------~-------~
B LastName        First Name       Ml     Suffix

J KIM             SUNG             w      N/A
E   Address                                            City                                               State                    Zip Code

C 3479 ENNFIELD WAY                                    DULUTH                                             GA                       30096
T License Status                              l~L Number                   DL State         DL Endorsements            DL Class            DL Restrictions

    Valid license                             053630097                    GA               None                       C                   None
1   Telephone Number                             DOB                       Race                                              Sex

    N/A                                          8/16/1974                 OTHER                                             Male
    Height                   Weight                    Hair Color                                         Eye Color

    5'8                      180                       BLK - Black                                        BRO - Brown
    Employer                                                                                                   Work Number

    N/A                                                                                                        N/A
    Work Address                                       Work City                                          Work State                 Work Zip Code

    N/A                                                N/A                                                 N/A                       N/A
    Injury Transported       Transported By
        • Yes        @No     N/A
    Hospital Name                                                                   Hospital City                                          Hospital State

    N/A                                                                             N/A                                                    N/A
    Additional Information
    N/A




                                                              I
                                                              I
A-09/ 19-0184                                                                                                                                      Page 1 of 4
                          Case 4:20-cv-00307-KGB Document 28 Filed 04/15/21 Page 24 of 29
     The Subject is
s                                                                      Suspect
u Last Name                                               First Name                                          Ml                       Suffix
B
                                                          HYUN                                                J                        N/A
J KIM                                                                                                                                  Zip Code
  Address                                                 City                                                State
E
C 3479 ENNFIELD WAY                                       DULUTH                                              GA                       30096
                                                                          DL State          DL Endorsements                DL Class             DL Restrictions
T License Status                                IDL Number

     Valid license                              057348990                 GA                None                           C                    None
2    Telephone Number                               DOB                   Race                                                   Sex

     N/A                                            11/20/1973            OTHER                                                  Female
     Height                    Weight                     Hair Color                                          Eye Color

     5'5                       150                        BLK- Black                                          BRO-Brown
     Employer                                                                                                     !Work Number

     N/A                                                                                                           N/A
     Work Address                                         Work City                                           Work State                !Work Zip Code

     N/A                                                  N/A                                                 N/A                        N/A
     Injury Transported        Transported By

      • Yes           @No      N/A
     Hospital Name                                                                rospital City                                                 Hospital State

     N/A                                                                          N/A                                                           N/A
     Additional Information
     N/A


     Vehicle Status
V
  Suspect
E Year                        Make                                                             Model
H
 I   2018                     Nissan                                                           ROGUE
     Plate Year               Plate State                                                      Plate Number               Vehicle Type
C
L 2019                        PA                                                               KLN2387                    Sports Utility Vehicle
E Vehicle Color               Vehicle Identification Number                                    Remarks

     SILVER                   KNMAT2MV5JP501438                                                N/A
1    Vehicle Towed Name of Towing Service                                                Address Vehicle Moved To
       @ Yes
                       Rich Auto                                                         915 W 4th St
                       City Vehicle Removed To                                           State                            Zip Vehicle Removed To
       •      No
                       Lonoke                                                            IAR                              72086
     Insurance              Insurance Carrier                          Carrier Address                                           Insurance Policy Number

       Dves        @No      N/A                                        N/A                                                       N/A




A-09/19-0184                                                                                                                                            Page 2 of 4
                   Case 4:20-cv-00307-KGB Document 28 Filed 04/15/21 Page 25 of 29
    C)n Tuesday September 10, 2019 at approximately 7:00 am I conducted a traffic stop near the 178 mile marker of Interstate 40
N Westbound, on a silver Nissan Rouge bearing Pennsylvania license plate KLN2387. As I was traveling westbound on Interstate
A 40 in observed the Silver Nissan Rogue drive onto the inside fog line numerous times violating Arkansas statute 27-51-302.
R
R I made contact with the male driver and female passenger, told them who I was and the reason for the stop. The male
    passenger told me that he was sneezing which caused him to drive onto the fog line numerous times. I asked him for his
A driver's license and was presented with a Georgia driver's license identifying him as Sung Won Kim, DOB 8/16/1974 from
T Duluth, Ga. I determined that the Nissan Rouge was a rental car and was rented by Mr. Kim. I asked Mr. Kim to come back to
I my car and speak with me while I ran an NCIC/ACIC check of his driver's license.
V
E   I asked Mr. Kim about his travel plans and he told me that they were going to Las Vegs, NV for "a couple of days." Mr. Kim then
    started nervously telling me that they will be playing the slot machines, possible meeting up with friends, and that they only
    have a "couple hundred bucks" on them. I found this very odd that Mr. Kim immediately started telling me how much money he
    and his wife had.

    While I was confirming the information on the rental agreement, I noticed that it was a one way rental. I asked Mr. Kim about
    that and he told me that they were going to fly back. I asked Mr. Kim if there were any weapons or guns in the car. Mr. Kim
    replied that there were no guns in the car, and that they were a Christian family and don't carry guns.

    I made contact with the female passenger and asked for her identification. The female passenger gave me her driver's license
    identifying herself as Hyun Joo Kim, DOB 11-20-73, Ga. DL 061177055. I asked Mrs. Kim about her trip and she told me they
    were going to Las Vegas to stay for a week. I asked if they were going to take the Silver Nissan Rogue home or fly home and
    Mrs. Kim told me that she didn't know.

    The fact that Mr. Kim told me that they were going to stay 2 days and Mrs. Kim said a week, they did not seem to have any
    plans on where they were going to stay or how they were going to get home increased my suspicion of criminal activity.

    I returned to my vehicle and asked Mr. Kim for consent to search the car. Mr. Kim denied consent search his car by saying "I do
    not want you to search my car." At 7:06am I called for Tfc. Mark Blackerby to come to with his K-9 Raptor for a K-9 sniff.

    While waiting on Tfc. Blackerby and K-9 Raptor to arrive at my location I asked Mr. Kim if they had purchased their plane
    tickets yet and he replied that they "had not, and maybe his friends had already done that, and he doesn't really know what is
    going on." This further increased my suspicion of criminal activity.

    Tfc. Blackerby and K-9 Raptor arrived on scene at 7:30 am and conducted a sniff of the vehicle. I was told by Tfc. Blackerby
    that K-9 raptor had alerted to the odor of narcotics in the Silver Nissan Rogue. We explained to Mr. Kim and Mrs. Kim that the
    dog had alerted and that we would be conducting a probable cause search of the car.

    During the probable cause search of the car Tfc. Blackerby and I located a large amount of US currency. The currency was
    located inside 2 duffle bags and one backpack which were inside of a silver suitcase in the rear of the vehicle. Inside the bags
    were 4 vacuum sealed bags, all containing large amounts of rubber banded US Currency, as well as a black plastic bag, that
    contained multiple rubber banded bundles of US currency.

    I placed Mr. and Mrs. Kim under arrest and advised them of their Miranda Rights.
    After being advised of his Miranda Rights Mr. Kim told me that he had just picked up the bag and was supposed to deliver it.
    Mr. Kim asked me what was in the car, I told him that it was a large amount of US Currency. He told me that he that it was
    about $10,000. I told him it was a lot more than that. Mr. Kim then stated that he was being paid $500 to deliver it.

    The silver Nissan Rogue was towed to the Lonoke County Sheriffs office by Rich's wrecker service. While at the Sheriffs office
    the large amount of US Currency was placed into a bank money bag and was sealed.

    Task Force Officer Stephen Briggs from the DEA Little Rock office responded to conduct an interview of Mr. and Mrs. Kim.
    The US currency was given the property control number of P-19-353-HP-A and transported to the First State Bank in Lonoke.
    The money was counted by bank staff and was determined to be totaling $332,057 US Currency.




A-09/19-0184                                                                                                              Page 3 of 4
                        Case 4:20-cv-00307-KGB Document 28 Filed 04/15/21 Page 26 of 29
    Rank                   Officer Last Name                           Officer First Name      Officer Ml      Officer Suffix
0
    TFC                     May                                        Andrew                  Travis          N/A
F   Officer Signature                          Officer Department
F
I                                              STATE POLICE TROOP A
                                               Officer Badge Number
C
E                                              363
    Rank                    Supervisor Last Name                       Supervisor First Name   Supervisor Ml   Officer Suffix
R
    Sergeant                Johnson                                    Alan                    N/A             N/A
    Supervisor Signature                       Supervisor Department

                                               STATE POLICE TROOP A
                                               Supervisor Badge Number

                                               98




A-09/ 19-0184                                                                                                         Page 4 of 4
                                                                  Rev. 1.0.0
                                                                                                            ARKANSAS UNIFORM WARNING
                                                                    STATE POLICE TROOP A
                                                                                                                                                                                                                                PLEASE READ CAREFULlY
                                                                    ARKANSAS. COUNTY OF                                  CITY                          WARNING
                                                                    LONOKE
                                                                                                            I        RURAL LONOKE                      NUMBER
                                                                                                                                                         Location

                                                                                                                                                                                     -W004038
                                                                                                                                                                                                                   You have just been issued a Written Warning for the
Case 4:20-cv-00307-KGB Document 28 Filed 04/15/21 Page 27 of 29




                                                                                                                                                         1-40 WB                                                   Offense(s) indicated. You will not be charged with
                                                                                                                                                         LONOKE
                                                                                                                                                                                                                   the offense(s) and will not have to pay a fine.
                                                                                                                                                                                                                   However, this written warning may appear on
                                                                               Date:           9/10/2019        at approx time:        07:25AM          MlleNo.        I 178 I        Se<:tlon No.   I             records visible to officers, and could result in an
                                                                    FIBI Name                                Middle / Maiden               Lui                                                Suffl•
                                                                    SUNG                                     WON                           KIM                                                N/A                  actual citation upon a subsequent traffic stop.
                                                                    Address
                                                                    3479 ENNFIELD WAY
                                                                    City                                                                                               State          Zip Code
                                                                    DULUTH                                                                                             GA             30096
                                                                                                                                                                                                                   ARKANSAS LAW ENFORCEMENT REMINDS YOU:
                                                                    Drlver"s Ucenst Number
                                                                                                                                  Stitels•ued     I          DL In Possession                 COL           LJ
                                                                    053630097                                                 I          GA                        YES                        DL            r.71    •   Seat belts save lives.
                                                                      Sex              llaoe             DOB              I                           Weight                   EyH                   Hair
                                                                       M
                                                                                I       A
                                                                                                II    8/16/1974
                                                                                                       State

                                                                                                                               Heli,,t
                                                                                                                                   5'8"
                                                                                                                            Body Type
                                                                                                                                                 I                     I
                                                                                                                                                            Commercial Vehicle
                                                                                                                                                                               BRO                 BLK
                                                                                                                                                                                                 Hu Mat


                                                                                                                                                                                                                    •
                                                                                                                                                                                                                    •
                                                                                                                                                                                                                        Drinking and driving are a deadly mix.
                                                                                                                                                                                                                        Distracted drivers are dangerous d..-ivers.
                                                                                                                                                  I
                                                                   Vehicle UconsaNumber
                                                                            KLN2387                     PA       I
                                                                    Vehicle Description (year, make, model, color)
                                                                                                                                  sv
                                                                                                                                                                   I   NO
                                                                                                                                                                       VIN of Vehicle

                                                                                                                                                                                                     NO             •   Parents and caregivers must secure children
                                                                                                                                                                                                                        in size- and age-appropriate car seats that
                                                                    2018 NISS Rogue Silver                                                                             KNMAT2MV5JP501438                                are properly installed. For more information,
                                                                    OWner's Address                                                                                            I     Work Phone Number
                                                                                                                                                                                                                        go to: www.carseatsAR.org
                                                                    8201 BARTRAM AVE, PHILADELPHIA, PA 19153                                                                       NIA
                                                                                       I                    116• Passenger                              I                   AGFC Llconse No.
                                                                                                                                                                                                                                                              ...
                                                                   Seatbelt In Use         Crash Involved                      Commercial Vehicles
                                                                        YES                     NO              NO   N,mt>o,orPasomge,,;         1
                                                                    Slllulll                                    Described
                                                                                                                                                                                                                   -~
                                                                    27-51-302                    IMPROPER LANE CHANGE/USAGE
                                                                                                                                                                                                                                                            4•
                                                                    Officer Name
                                                                    2nd Officer Nano

                                                                                               CPL Travis May
                                                                                                                                                 I
                                                                                                                                                      Officer ID
                                                                                                                                                      2ND Officer ID

                                                                                                                                                                               363
                                                                                                                                                                                                                                                              -
                                                                                                                                                                                                                                                          lfllltSlllHfl
                                                                                                                                                                                                                                                          EPllllllftl
                                                                                                                            WARNING
                                                                                                            EQUIPMENT VIOLATIONS SHOULD
                                                                                                              BE REPAIRED IMMEDIATELY.
                                                                                                               FAILURE TO DO SO COULD
                                                                                                             RESULT IN lHE ISSUANCE OF A
                                                                                                                   TRAFFIC CITATION.
                                                                                                                                                                                                                                          c_
4/15/2021              Case  4:20-cv-00307-KGB
                          § 27-51-302                         Document
                                      - Driving on roadways laned for traffic. :: 28   Filed 04/15/21
                                                                                  2014 Arkansas             Page
                                                                                                Code:: US Codes     28 of 29
                                                                                                                and Statutes:: US Law:: Justia




                                                             JUSTIA

                  View the 2019 Arkansas Code I View Previous Versions of the Arkansas Code


            2014 Arkansas Code
            Title 27 - Transportation
            Subtitle 4 - Motor Vehicular Traffic
            Chapter 51 - Operation Of Vehicles --
            Rules Of The Road
            Subchapter 3 - Driving, Overtaking,
            and Passing
            § 27-51-302 - Driving on roadways
            laned for traffic.
            Universal Citation: AR Code§ 27-51-302 (2014)

            Whenever any roadway has been divided into two (2) or more clearly marked lanes for
            traffic, the following rules in addition to all others consistent with this subchapter shall
            apply:

            (1) A vehicle shall be driven as nearly as practical entirely within a single lane and shall not
            be moved from the lane until the driver has first ascertained that movement can be made
            with safety; and

            (2) Official signs may be erected directing slower-moving traffic to use a designated lane or
            allocating specified lanes to traffic moving in the same direction, and drivers of vehicles
            shall obey the directions of every such sign.




https://law.justia.com/codes/arkansas/2014/title-27/subtitle-4/chapter-51 /subchapter-3/section-27-51-302                                        1/2
4/15/2021               Case 4:20-cv-00307-KGB              Document
                                Rule 3.1 - Stopping and Detention of Person: 28    Filed
                                                                             Time Limit, Ark.04/15/21
                                                                                              R. Crim. P. 3.1 Page    29Search
                                                                                                              I Casetext of 29+ Citator

             casetext                                                                                                    Help       Sign In      Sign Up


       Search all cases and statutes ...




    Statutes, codes, and regulations
    Arkansas Court Rules
    Arkansas Rules of Cri .. .
    Rule 3 - Detention Wi .. .



    Ark. R. Crim. P. 3.1
         •    Download



    As amended through April 2, 2020



    Rule 3.1 - Stopping and Detention of Person: Time Limit



    A law enforcement officer lawfully present in any place may, in the performance of his duties,
    stop and detain any person who he reasonably suspects is committing, has committed, or is
    about to commit (1) a felony, or (2) a misdemeanor involving danger of forcible injury to
    persons or of appropriation of or damage to property, if such action is reasonably necessary
    either to obtain or verify the identification of the person or to determine the lawfulness of his
    conduct. An officer acting under this rule may require the person to remain in or near such
    place in the officer's presence for a period of not more than fifteen (15) minutes or for such
    time as is reasonable under the circumstances. At the end of such period the person detained
    shall be released without further restraint, or arrested and charged with an offense.

              Ark. R. Crim. P. 3.1


    Next Section
                                                                                        EXll8II'
    Rule 3.2 - Advice as to Reason for Detention
                                                                                I        €
                                                                                I
https://casetext.com/rule/arkansas-court-rules/arkansas-rules-of-criminal-procedure/rule-3-detention-without-arrest/rule-31-stopping-and-detenlion-of-p...   1/3
